 Case 1:20-cr-00183-RJJ ECF No. 764, PageID.10072 Filed 09/29/22 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                       No. 1:20-cr-183

             vs.                                     Hon. Robert J. Jonker
                                                     United States District Judge
KALEB JAMES FRANKS,

                  Defendant.
_________________________________/

              GOVERNMENT’S SENTENCING MEMORANDUM

      May it please the Court, the United States submits the following

memorandum for the Court's reference in determining an appropriate sentence:

      1.     Facts and Procedural History:

      Between June and October 2020, defendant Franks and his co-defendants

conspired to kidnap the Governor of Michigan. (R. 172: Superseding Indictment,

PageID.961-66.) On February 9, 2022 Franks pled guilty to kidnapping conspiracy

in violation of 18 U.S.C. §1201(c). (R. 762: PSR, PageID.10018.) Pursuant to his plea

agreement, Franks agreed to cooperate with the government in the prosecution of

his codefendants. (R. 445: Plea Agreement ¶ 7, PageID.3125.)

      The first jury trial in this matter commenced on March 8, 2022. (R. 537:

Minutes of Jury Trial, PageID.4190.) Franks testified under oath and subject to

cross-examination on March 24, 2022. (Id., PageID.4567.) After the jury deadlocked

on the charges against ringleaders Barry Gordon Croft, Jr. and Adam Dean Fox, the

Court set the matter for retrial in August. (R. 704: Minutes of Jury Trial,
 Case 1:20-cr-00183-RJJ ECF No. 764, PageID.10073 Filed 09/29/22 Page 2 of 5




PageID.4567.) Franks testified again on August 17, 2022. (R. 720: Minutes of Jury

Trial, PageID.9009.)

      The presentence report and factual basis section of Franks’ plea agreement

accurately summarize his role in the offense. (R. 762: PSR ¶¶ 18-98, PageID.10020-

37; R. 445: Plea Agreement ¶ 6, PageID.3118.)

      2.     Guideline Issues:

      Based on a total offense level of 33 and a criminal history category of II, the

advisory guideline range is 151-188 months. The only potential guideline dispute

involves PSR paragraph 130, which assesses two criminal history points for a

second-degree home invasion Franks committed at age 19. (R. 762: PSR,

PageID.10045.) Franks argues the conviction should not be scored, because it was

dismissed under the Holmes Youthful Trainee Act (HYTA) upon his successful

completion of probation. (Id.; PSR addendum, PageID.10059.) It is not disputed that

Franks pled guilty to the offense in 6th Circuit Court, Pontiac, Michigan (Case No.

13-247051-FH).

      Diversion from the judicial process without a finding of guilt (e.g., deferred

prosecution) is not counted. USSG § 4A1.2(f). A diversionary disposition resulting

from a finding or admission of guilt in a judicial proceeding, however, is counted as

a sentence even if a conviction is not formally entered. Id. According to the

Sentencing Commission, “This reflects a policy that defendants who receive the

benefit of a rehabilitative sentence and continue to commit crimes should not be

treated with further leniency.” Id., Comment. n.9.



                                          2
 Case 1:20-cr-00183-RJJ ECF No. 764, PageID.10074 Filed 09/29/22 Page 3 of 5




      Sixth Circuit precedent, which holds that a guilty plea under HYTA

constitutes a “prior sentence,” forecloses Franks’ argument. United States v. Hill,

769 F. App’x 352, 354 (6th Cir. 2019) (unpublished) (quoting United States v. Shor,

549 F.3d 1075, 1076-78 (6th Cir. 2008)). Because Franks’ HYTA conviction resulted

from an admission of guilt in a judicial proceeding, his criminal history is properly

scored.

      3.        Statutory Sentencing Factors:

      The Court is required to impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in 18 U.S.C. § 3553. In

determining the particular sentence to be imposed, the court must consider, among

other things:

                a.    The nature and circumstances of the offense and the history and
                      characteristics of the defendant (18 U.S.C. § 3553(a)(1)):

      The Court is familiar with the facts and circumstances of the offense, after

presiding over two jury trials. While Franks participated in an exceptionally serious

plot, he also entered a timely plea, fully accepted responsibility for his role in the

offense, and testified against his co-conspirators. As the Sixth Circuit has noted, “A

free and honest admission of guilt is perhaps the first and largest step toward

ultimate rehabilitation.” United States v. Derrick, 519 F.2d 1, 4 (6th Cir. 1975.)

      Franks did not plead guilty as early in the process as co-defendant Ty

Garbin. On the other hand, Franks was not a leader in either the Wolverine

Watchmen or the Croft/Fox kidnapping plot. While he accumulated some criminal

history, it mostly involved property crimes motivated by drug addiction. At the time

                                            3
 Case 1:20-cr-00183-RJJ ECF No. 764, PageID.10075 Filed 09/29/22 Page 4 of 5




of the offense, Franks was 26 years old. Fox was 40, and Croft was (at 45) old

enough to be Franks’ father. Franks’ decision to accept responsibility and testify

showed more maturity than the older men who led him.

             b.     The need for the sentence imposed to reflect the seriousness of the
                    offense, to promote respect for the law, and to provide just
                    punishment for the offense (18 U.S.C. § 3553(a)(2)(A)):

      As noted in Ty Garbin’s sentencing memorandum, it is difficult to imagine a

more serious offense than attempting to kidnap the Governor. Moreover, the charge

of kidnapping does not entirely reflect the seriousness of the conspiracy’s ultimate

goal. The trial evidence, including Franks’ testimony, established that Croft and

Fox actually intended to murder the Governor in order to trigger a civil war. The

sentence should reflect the gravity of the offense, and also Franks’ part in bringing

the conspirators to justice.

             c.     The need for the sentence imposed to afford adequate deterrence
                    to criminal conduct (18 U.S.C. § 3553(a)(2)(B)):

      In the two years since the conspirators’ arrests, a constant stream of

defendants have been charged and convicted for offenses motivated by similar

ideology. Self-styled “militia” activists were once dismissed as eccentric, but

essentially harmless, actors. This case was in a sense the “canary in the coal mine”

presaging a turn toward real violence. The proceedings here have been closely

watched and extensively discussed by domestic extremists, and Franks’ sentence

will be too. It should send a strong message that attempts to achieve political

change through violence will result in serious consequences.




                                           4
 Case 1:20-cr-00183-RJJ ECF No. 764, PageID.10076 Filed 09/29/22 Page 5 of 5




       For the foregoing reasons, the government requests the Court impose a

sentence substantial enough to deter similar crimes in the future, but also recognize

the differences between Franks and the unrepentant domestic terrorists who led

him.

                                       Respectfully submitted,

                                       ANDREW BYERLY BIRGE
                                       Attorney for the United States,
                                       Acting under Authority Conferred by
                                       28 U.S.C. § 515

Dated: September 29, 2022               /s/ Nils R. Kessler
                                       NILS R. KESSLER
                                       CHRISTOPHER M. O’CONNOR
                                       Assistant United States Attorneys
                                       P.O. Box 208
                                       Grand Rapids, MI 49501-2404
                                       (616) 456-2404
                                       nils.kessler@usdoj.gov




                                         5
